                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

JRS PARTNERS, GP; JRT                          )
REVOCABLE TRUST;                               )
SFT REVOCABLE TRUST; PBO 2012                  )
IRREVOCABLE TRUST;                             )
WILLIAM PATRICK ORTALE III                     )       Civil Action No. 3:19-cv-00469
                                               )       Judge Eli J. Richardson
         Plaintiffs,                           )       Magistrate Judge Jeffery S. Frensley
                                               )
                                               )       JURY TRIAL DEMANDED
v.                                             )
                                               )
LEECH TISHMAN FUSCALDO &                       )
LAMPL, LLC; BRETT MANKEY                       )
                                               )
         Defendants.                           )


                             REPORT OF THE SPECIAL MASTER


         Pending before the Special Master (ECF 78) is plaintiffs’ motion to compel approximately

290 documents totaling over 6,000 pages (“Withheld Documents”) from defendant Leech Tishman

Fuscaldo & Lampl, LLC (“Leech Tishman”) (ECF 34). Leech Tishman claims that the attorney–

client privilege protects each of the Withheld Documents from compelled disclosure , but the

plaintiffs counter that the crime–fraud exception removes the privilege protection and seek an

Order compelling their production. For the reasons set forth in this Report and after reviewing

each of the Withheld Documents, the Special Master GRANTS the motion in part and DENIES

the motion in part.

I.       BACKGROUND AND PROCEDURAL HISTORY

         The plaintiffs were individual or entity investors in one or both of two purported investment

funds offered by Clean Energy Advisors, LLC (“CEA”) (ECF 1, ¶¶ 29(a)–(d), 36(a)–(d); ECF 54,




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¶¶ 29, 36, at pp. 7–8). CEA was an entity registered in Wyoming with various offices, including

in Nashville, Tennessee. (Plea Agreement, ¶ 10(b), ECF 21, United States v. Warren, Case No.

3:18-cr-00153, United States District Court for the Middle District of Tennessee (hereinafter “Plea

Agreement”)). Christopher Warren (“Warren”), a Florida resident (Complaint, ¶ 11, ECF 1, JRS

Partners, GP, et al. v. Warren, et al., Case No. 3:17-cv-01258, United States District Court for the

Middle District of Tennessee), purportedly served as CEA’s Chief Investment Officer. (Plea

Agreement, ¶ 10(a)). Leech Tishman, a law firm with its principal office in Pennsylvania and

other offices in Illinois, New York, Delaware, Texas, Florida, and California (ECF 1, ¶ 11; ECF

54, ¶ 11, at p. 4), represented and held an attorney–client relationship with CEA during the time

period relevant to the instant motion. (ECF 12-1).

       Warren, acting on CEA’s behalf, solicited investments for two funds, identified as the

Utility Solar Fund IV, LP (“Solar IV”) and the CEA Utility Income Fund, LLC (“UIF”)

(collectively the “Funds”). The Funds allegedly held interests in solar farms in North Carolina,

including purported contracts to sell energy produced by the solar farms to certain power

companies. (Plea Agreement, ¶ 10(c)(i)–(iv)). Leech Tishman provided legal services to CEA,

including providing general legal counsel regarding the growth of CEA’s renewable energy

investing and development business, and specifically regarding at least the UIF Fund. (ECF 54, ¶

1, at p. 2; ECF 12-1, ¶ 1).

       Defendant Brett Mankey, a lawyer and partner with Leech Tishman, served as CEA’s

primary contact with the firm. (ECF 54, ¶ 12, at p. 4; ECF 12-1, ¶ 3). At some point, John R.

Tyrrell, a member and trustee of some of the plaintiffs, and plaintiff William Patrick Ortale III

contacted Mankey to discuss the Funds. (ECF 1, ¶¶ 34, 43–44; ECF 54, ¶ 34, 43–44, at pp. 8, 10–

11). Leech Tishman admits that Mankey and Tyrrell may have generally discussed the topics of


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Warren, CEA, and the firm’s experience with renewable energy, and that any statements provided

to either Tyrrell or Ortale were within the scope of Mankey’s employment with the firm. (ECF

54, ¶¶ 43–44, at pp. 10–11). Leech Tishman further admits that Mr. Mankey “merely repeated”

to Tyrrell and Ortale information supplied to him by Warren, including portions of a purported

insurance policy covering the Funds, but also certain tax ramifications of the UIF Fund obtained

from the firm’s tax lawyers. (ECF 54, ¶¶ 34, 50, 57–60, at pp. 8, 12–14).

       Many of Warren’s representations to investors in the Funds, including the plaintiffs, were

false. CEA did not own or operate solar farms in North Carolina and had no contracts to sell energy

to power companies. Investors in the Funds did not receive dividends as represented. Rather,

Warren caused investors’ funds to pay dividends to other investors as part of a Ponzi scheme , to

pay himself and others exorbitant salaries, and to finance his extravagant lifestyle. Warren

ultimately misappropriated millions of dollars for his personal benefit, the benefit of related

entities, and his family members. (Plea Agreement, ¶ 10(c)(i)–(vi); ECF 1, ¶ 2; ECF 54, ¶ 2, at p.

1). On June 27, 2018, Warren was indicted on twelve counts of mail fraud, wire fraud, and

securities fraud. (Indictment, ECF 1, United States v. Warren, Case No. 3:18-cr-00153, United

States District Court for the Middle District of Tennessee; ECF 1, ¶ 72; ECF 54, ¶ 72, at p. 16).

On December 14, 2018, Warren pled guilty to two counts of mail fraud and securities fraud. (Plea

Agreement, passim; ECF 1, ¶ 73, ECF 54, ¶ 73, at p. 16). On June 10, 2019, the Court sentenced

Warren to 108 months imprisonment, three years of supervised release, and restitution in the

amount of $15,666,418.05. (Judgment, ECF 58, United States v. Warren, Case No. 3:18-cr-00153,

United States District Court for the Middle District of Tennessee).

       Leech Tishman admits, as it must, that Warren, acting on CEA’s behalf, committed crimes

and otherwise engaged in fraudulent conduct. (ECF 54, ¶¶ 21–24, 72–73, at pp. 6, 16). And it


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admits that, as of August 2017, Mankey, a partner and CEA’s primary contact at the firm, was

aware that Warren used CEA to mastermind the Ponzi scheme and that Warren “may have been

using Leech Tishman’s name” as part of that criminal and fraudulent scheme. (ECF 54, ¶ 81, at p.

17). Leech Tishman denies that Mankey or the firm had knowledge of Warren’s criminal or

fraudulent activities prior to August 2017.

         On May 31, 2019, the plaintiffs filed suit against Leech Tishman and Mankey generally

alleging that these defendants misrepresented certain facts that induced the plaintiffs to invest in

the Funds that Warren and CEA ran as a Ponzi scheme. The plaintiffs specifically assert claims of

negligent misrepresentation, fraudulent misrepresentation, and negligent retention and supervision

arising under Tennessee common law. (ECF 1, ¶¶ 86–103, 126–32). Leech Tishman denies the

allegations, but the parties agree that the plaintiffs properly invoked diversity jurisdiction under 28

U.S.C. § 1332 (ECF 1, ¶ 13; ECF 54, ¶ 13, at p. 5).

         On February 19, 2020, plaintiffs served requests for production of documents to Leech

Tishman. Some of these document requests sought communications and other documents

pertaining to the plaintiffs, the Funds, CEA, Warren, and Warren-owned entities, including

documents related to Leech Tishman’s provision of legal services to CEA. (ECF 34-2). On May

29, 2020, Leech Tishman supplied plaintiffs with a privilege log, and supplemented that log on

July 28, 2020 (collectively the “Privilege Log”). The Privilege Log identifies the Withheld

Documents that Leech Tishman objects to producing on the grounds that the attorney –client

privilege protects them from compelled disclosure. 1




1
 Leech Tishman did not claim that the work-product doctrine protects any of the Withheld Documents from compelled
disclosure. Some of the Privilege Log entries identify “Relevance,” “Relevance, Proprietary Information,” or
“Relevance, HIPAA” as grounds for non-production, but a decision regarding those production objections is beyond
the scope the Special Master’s duties. (ECF 78) (stating that the Special Master shall report “his determination as to

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         Plaintiffs’ counsel conferred with Leech Tishman’s counsel regarding whether the

common law crime–fraud exception to the attorney–client privilege applied to the Withheld

Documents thereby removing the privilege protections. Leech Tishman correctly notes that the

client, here CEA, holds the privilege and that the firm could not voluntarily produce the Withheld

Documents unless its client waived the privilege. On August 10, 2020, the plaintiffs filed a motion

to compel production of each of the Withheld Documents, asserting that the crime–fraud exception

removed the privilege shield and seeking an in camera review to make this determination. (ECF

34). Leech Tishman responded by primarily arguing that, if the crime–fraud exception requires

that Leech Tishman had knowledge of Warren’s criminal and fraudulent conduct, then the

exception did not apply because Leech Tishman had no such knowledge. (ECF 35). The Court

granted the plaintiffs’ request for an in camera review (ECF 68) and, on January 5, 2021, appointed

this Special Master to review the Withheld Documents and issue a report regarding whether the

attorney–client privilege shelters the documents in the first instance and, if so, whether the crime–

fraud exception overrides the privilege and requires production. (ECF 78).

II.      LEGAL ANALYSIS

         A.       Choice of Law

         Federal Rule of Evidence 501 provides that, “in a civil case, state law governs privilege

regarding a claim or defense for which state law supplies the rule of decision.” Fed. R. Evid. 501.

This rule instructs that where, as here, the civil action arises under diversity jurisdiction for

adjudication of state-law claims, state privilege law governs disputes involving application of the

attorney–client privilege. In re Powerhouse Licensing, LLC, 441 F.3d 467, 472 (6th Cir. 2006);


whether each document is, or is not, subject to the crime–fraud exception to the attorney–client privilege as argued by
the plaintiff”).

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  Case 3:19-cv-00469 Document 82-1 Filed 03/02/21 Page 5 of 20 PageID #: 1513
Adkisson v. Jacobs Eng’g Grp., Inc., No. 3:13-CV-505-TAV-HBG, 2021 WL 149841, at *2 (E.D.

Tenn. Jan. 15, 2021); EPAC Techs., Inc. v. Thomas Nelson, Inc., No. 3:12-CV-00463, 2015 WL

13729725, at *2 (M.D. Tenn. Dec. 1, 2015). As for which state’s privilege law to apply, Rule 501

implements the doctrine of Erie Railroad Co. v. Tompkins, 304 U.S. 64, 77–78 (1938) and Klaxon

Co. v. Stentor Electric Manufacturing Co., 313 U.S. 487, 496–97 (1941), which hold that federal

courts exercising diversity jurisdiction must apply the forum state’s laws, including that state’s

conflict-of-law rules. Union Planters Nat’l Bank of Memphis v. ABC Records, Inc., 82 F.R.D.

472, 472 (W.D. Tenn. 1979); Oreck Mfg. Co. v. Acor, No. 06-1232-T/An, 2007 WL 9710001, at

*2 (W.D. Tenn. July 20, 2007).

         In this case, some of the Withheld Documents include communications involving Warren,

a Florida resident; representatives of CEA, which had a Tennessee office; and Pennsylvania

lawyers with Leech Tishman. As the forum state, Tennessee’s conflict-of-law rules govern

whether Tennessee, Pennsylvania, Florida, or some other state’s privilege law governs this

discovery dispute. It does not appear that any Tennessee state court has addressed in a published

or electronically available opinion the applicable standard when a privilege dispute arguably

implicates multiple states. 2 Nonetheless, the present dispute does not require a resolution of this

conflict-of-laws issue because the plaintiffs relied upon federal privilege law without a

disagreement from Leech Tishman, and it does not appear that any significant conflict exists


2
  One Tennessee federal court ruled that Tennessee courts would apply Tennessee privilege law in diversity actions
because the forum’s law governs evidence matters and that privileges “concern themselves only with matters of
evidence.” Union Planters Nat’l Bank of Memphis, 82 F.R.D. at 474. Other courts have rejected the Union Planters
court’s categorization of privilege law as essentially a procedural rule rather than a su bstantive right because Federal
Rule of Evidence 501 identifies privilege law as substantive rather than procedural. See, e.g., In re Yasmin & Yaz
(Drospirenone) Mktg., Sales Practices & Prods. Liab. Litig., No. 3:09-MD-02100-DRH, 2011 WL 1375011, at *8,
n.10 (S.D. Ill. Apr. 12, 2011). Another court applied Tennessee privilege law in a diversity action involving
interpretation of a contract because, in breach-of-contract actions, Tennessee applies the law of the jurisdiction in
which the parties executed the contract and the contract at issue was executed in Tennessee. Union Ins. Co. v. Delta
Casket Co., No. 06-0290, 2009 WL 10665128, at *1 (W.D. Tenn. Dec. 1, 2009).

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between the relevant states regarding the attorney–client privilege and the crime–fraud exception.

Gov’t Emps. Ins. Co. v. Bloodworth, No. M2003-02986-COA-R10-CV, 2007 WL 1966022, at *29

(Tenn. Ct. App. June 29, 2007) (“A court need not make a choice of law if, in fact, there is no real

difference or conflict between the relevant laws of the states involved.”).

       B.      Legal Standard for Assessing the Crime–Fraud Exception

       In the Sixth Circuit, the jurisdictional law upon which the parties relied, the attorney–client

privilege protects from compelled disclosure confidential communications between a client and

lawyer made for legal-advice purposes and with the intent to keep those communications

confidential. See Reed v. Baxter, 134 F.3d 351, 355–56 (6th Cir. 1998) (listing the privilege

elements); Alomari v. Ohio Dep’t of Safety, 626 F. App’x 558, 570 (6th Cir. 2015) (noting that the

legal-advice element “involves the interpretation and application of legal principles to guide future

conduct or to assess past conduct”) (quoting In re Cty. of Erie, 473 F.3d 413, 419 (2d Cir. 2007));

Diamond Resorts Int’l, Inc. v. Phillips, No. 3:17-CV-01124, 2018 WL 3326814, at *2 (M.D. Tenn.

Apr. 17, 2018) (following Reed and observing that “[i]t has long been established in the Sixth

Circuit that the privilege ‘does not envelop[] everything arising from the existence of an attorney–

client relationship’”). The privilege encourages clients to communicate candidly with their lawyers

so that lawyers can provide optimum legal advice, which overall promotes the “broader public

interests in the observance of law and administration of justice.” Upjohn Co. v. United States, 449

U.S. 383, 389 (1981).

       These policy reasons, however, “are completely eviscerated when a client consults an

attorney not for advice on past conduct, but for legal assistance in carrying out a contemplated or

ongoing crime or fraud.” In re Antitrust Grand Jury, 805 F.2d 155, 162 (6th Cir. 1986). For this

reason, courts apply a crime–fraud exception to the privilege “when the otherwise protected

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communications or materials are made in furtherance of a crime or fraud.” Id. at 164. To establish

the exception, the party seeking to employ it must first “make a prima facie showing that a

sufficiently serious crime or fraud occurred.” This prong requires a showing that a prudent person

would have a reasonable basis to suspect the perpetration of a crime or of a fraud. Id. at 165–66.

The exception’s proponent must next “establish some relationship between the communication at

issue and the prima facie violation.” Id. Communications that merely relate to the crime or fraud

are insufficient to invoke the exception; the communication must have been made with an intent

to further the crime or fraud. Id. at 168; see also United States v. Collis, 128 F.3d 313, 321 (6th

Cir. 1997).

       The Sixth Circuit standard, which the parties briefed, is consistent with Tennessee law.

Under Tennessee law, the attorney–client privilege protects communications between a client and

her lawyer when the communication is confidential, is made with the intent that the communication

remains confidential, and pertains to the subject matter of the legal representation. Dialysis Clinic,

Inc. v. Medley, 567 S.W.3d 314, 318 (Tenn. 2019); Boyd v. Comdata Network, Inc., 88 S.W.3d

203, 213 (Tenn. Ct. App. 2002); Tenn. Code Ann. § 23-3-105. While no Tennessee court has

specifically addressed whether the privilege contains a crime–fraud exception, or the elements of

the exception, see, e.g., Hartford Cas. Ins. v. Calcot, Ltd., No. 2:07-cv-2405, 2009 WL 10699695,

at *6 (W.D. Tenn. Apr. 7, 2009), courts have recognized that public policy forbids invocation of

the attorney–client privilege when a client seeks counsel in reference to a contemplated crime.

Jackson v. State, 293 S.W. 539, 540 (Tenn. 1927) (quoting McMannus v. State, 39 Tenn. (2 Head)

213, 215 (1858)).

       Tennessee federal courts have held that Tennessee state courts would follow Sixth Circuit

guidance in applying the crime–fraud exception. Royal Surplus Lines Ins. Co. v. Sofamor Danek


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Grp., Inc., 190 F.R.D. 505, 510–11, 515–16 (W.D. Tenn. 1999). First, the exception’s proponent

must make a prima facie showing that a sufficiently serious crime or fraud occurred by proving

facts leading a prudent person to have a reasonable basis to suspect the perpetration of a crime or

fraud. Second, the proponent must show that a sufficient nexus existed between the communication

and the crime or fraud. The nexus element requires that the putatively privileged communication’s

intent was to further the crime or fraud. Royal Surplus Lines Ins. Co, 190 F.R.D. at 510–11, 515–

16; Metro Fin. Servs. Corp. v. Geller, No. 2:13-cv-2867, 2015 WL 12910697, at *4 (W.D. Tenn.

Feb. 24, 2015).

          This same standard is consistent with Pennsylvania and Florida law. Pennsylvania’s

attorney–client privilege protects confidential communications between clients and their lawyers

made for legal-advice purposes. Gillard v. AIG Ins. Co., 15 A.3d 44, 59 (Pa. 2011); Red Vision

Sys., Inc. v. Nat'l Real Estate Info. Servs., L.P., 108 A.3d 54, 60 (Pa. Super. Ct. 2015). The

privilege gives way, however, for communications made for the purpose or in the commission of

a crime or fraud, regardless whether the attorney knew of the client’s crime or fraud. In re

Investigating Grand Jury of Phila. Cty., 593 A.2d 402, 406–07 (Pa. 1991); Nadler v. Warner Co.,

184 A. 3, 5 (Pa. 1936). Florida’s statutory attorney–client privilege similarly protects confidential

communications made in the rendition of legal services to the client, Fla. Stat. § 90.502(1)(c), but

contains a crime–fraud exception that overrides the privilege when the client seeks or obtains the

lawyer’s services to enable the commission of a crime or fraud. Id. § 90.502(4)(a); Am. Tobacco

Co. v. State, 697 So. 2d 1249, 1253 (Fla. Dist. Ct. App. 1997) (requiring the exception’s proponent

to make a prima facie showing that a crime or fraud occurred and noting that the privilege does

not extend to communications made for the purpose of obtaining advice to commit a fraud or

crime).


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         In sum, applying Sixth Circuit law, which is the same or similar to any other standard that

might reasonably apply to this discovery dispute, the attorney–client privilege protects from

compelled disclosure a client’s confidential communications to its lawyers mad e for the purpose

of the lawyer providing the client with legal advice. The crime–fraud exception removes disclosure

protections from otherwise privileged communications in which the client seeks or obtains the

lawyer’s services and advice in furtherance of the ongoing or future commission of a crime or

fraud. The party seeking to invoke the exception has the burden 3 of showing (1) a reasonable basis

to suspect that a crime or fraud has occurred and (2) a sufficient nexus or relationship between the

putatively privileged communications and the crime or fraud. It is insufficient to invoke the crime–

fraud exception where the privileged communications merely relate to the crime or fraud. The

exception requires that the privileged communications were made in furtherance of the crime or

fraud.

         Leech Tishman does not challenge this standard, except by asserting that the evidence does

not show that the firm knew of or participated in any crime or fraud . As the plaintiffs argue,

however, the crime–fraud exception does not require proof that the lawyer knew of or participated

in the crime or fraud and applies regardless of the lawyer’s knowledge. See Clark, 289 U.S. at 15

(ruling that a client who consults an attorney in the commission of a fraud “must let the truth be

told” and that “[t]he attorney may be innocent, and still the guilty client must let the truth come



3
  The parties did not address the burden-of-proof standard that courts should apply when assessing whether a party
has made a prima facie showing that a crime or fraud has occurred. The United States Supreme Court described the
standard as requiring evidence “to give colour to the charge … that has some foundation in fact.” Clark v. United
States, 289 U.S. 1, 15 (1933). Some circuits, including the Sixth Circuit, interpret that standard to require a party to
show probable cause that the client committed a crime or fraud. See, e.g., In re Antitrust Grand Jury, 805 F.2d at 165–
66. Other circuits require proof of a crime or fraud by the preponderance of the evidence. See, e.g., In re Napster, Inc.
Copyright Litig., 479 F.3d 1078, 1095 (9th Cir. 2007). These varying standards may make little difference in practice,
In re Antitrust Grand Jury, 805 F.2d at 165–66, but do not matter here because the Special Master finds that the
plaintiffs proved sufficient facts that a crime and fraud actually occurred under any standard.

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out”); 1 David M. Greenwald, Testimonial Privileges, § 1.54 (2019) (collecting cases supporting

the proposition that the crime–fraud exception applies “regardless of whether the attorney was a

knowing participant in the client’s misconduct or was innocently involved in giving advice for

what was thought to be a legitimate purpose”). There is no evidence in the present record that

Leech Tishman knew of CEA and Warren’s conduct prior to August 2017, but that inquiry is

irrelevant to application of the crime–fraud exception.

       C.      Application of the Crime–Fraud Exception

       Applying this standard, the plaintiffs have met their burden of proving that CEA, acting

through Warren, sought defendant’s legal advice as part of an ongoing and future crime and fraud

on potential investors in the Funds. Warren pled guilty to two counts of mail fraud and securities

fraud arising from his actions and conduct through CEA. Warren operated CEA and its Funds as

a Ponzi scheme under which he fraudulently represented to investors, including the plaintiffs, that

the Funds would produce dividends when, in fact, Warren and CEA paid those so -called dividends

from monies received from other investors. Warren, acting through CEA, made other, numerous

false representations to potential investors in the Funds. Warren and CEA represented that CEA

owned and operated solar farms in North Carolina and possessed contracts with power companies

to sell energy produced from these solar farms. None of these representations were true. Warren

told investors that insurance policies covered the solar farms when, in fact, no such insurance

policies existed. Leech Tishman “admits that it now has a general understanding that the Funds

were fraudulent.” (ECF 54, ¶¶ 20–24, at p. 6). In short, the undisputed evidence in the record

shows that an actual crime and fraud existed.

       The plaintiffs have also proven that the majority of CEA and Warren’s communications

with Leech Tishman were in furtherance of the crime or fraud. CEA, acting through Warren,

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engaged Leech Tishman as “general legal counsel relating to the growth of [CEA’s] renewable

energy investing and development business.” (ECF 12-1, ¶ 1). The legal counsel also “most likely”

included the specific topics of “Power Purchase Agreements,” “Financing Transactions,” “Tax

Structuring,” and “Negotiation/Drafting of Development Agreements.” (Id.). Leech Tishman

provided at least some drafting of or consultation on certain operating agreements and documents

related to the UIF Fund that Warren later admitted was part of his Ponzi scheme to defraud

investors. (ECF 54, ¶¶ 5, 32, at pp. 3, 7).

       Defendant Mankey, a partner at the firm, was CEA and Warren’s primary contact at Leech

Tishman. (ECF 12-1, ¶ 3). Mankey, acting within the scope of his employment with Leech

Tishman, communicated with some of the plaintiffs and received certain information from Warren.

For example, as recited above, Leech Tishman admits that Mankey generally discussed Warren,

CEA, and the law firm’s experience with renewable energy . Mankey relayed information he

received from Warren, regarding the non-existent insurance policies on the solar farms, to some

of the plaintiffs. Mankey provided certain of the plaintiffs information regarding tax issues related

to the Funds, which was one of the specific topics on which CEA engaged Leech Tishman. Leech

Tishman admits that, after Mankey learned of Warren’s Ponzi scheme, Mankey stated that Warren

“may have been using Leech Tishman’s name.” (ECF 54, ¶ 81, p. 17). These facts sufficiently

prove that Warren and CEA used Leech Tishman as a conduit for their fraudulent activities and

otherwise to further their criminal and fraudulent activities.

       To compel production of the putatively privileged documents that comprise the Withheld

Documents under the crime–fraud exception, each communication must further Warren and

CEA’s criminal or fraudulent activities. The Special Master, upon review of the Withheld

Documents, finds that (1) Leech Tishman must produce some of the Withheld Documents because


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they are not privileged in first instance; (2) Leech Tishman must produce some of the Withheld

Documents because the crime–fraud exception removes the privilege protection; and (3) Leech

Tishman’s privilege objection remains unbroken as to some Withheld Documents because there is

insufficient evidence that these communications were made in furtherance of a crime or fraud

necessary to invoke the crime–fraud exception. These specific findings are set forth below.

III.   RULINGS ON WITHHELD DOCUMENTS

       1.     NOT PRIVILEGED: 003632–004207; 004217; 004221–004223; 004232; 004245–

004246; 004262–004264; 004302; 004619–004620; 004639–004643; 004644–004652; 004822–

005007; 005008; 005601–005608; 005678; 005679; 005680–005684; 005978–005983; 005984–

005985; 006034; 006174–006175; 006203; 006204; 006207; 006244; 006247; 008176; 008181–

008201; 008259; 008490; 008491–008493; 008494–008496; 008497–008501; 008532–008537;

008541; 008642–008643; 008644–008645; 008646–008648; 008649–008650; 008783–009147;

009159; 009372; 009373; 009403; 009404; 009539–009547; 009579–009638; 009689–009693;

009694–009697; 009698–009703; 009704–009707; 009708–009713; 009752–009755; and

009792–009831.

       Upon review, the Special Master finds that no portion of these documents contain

communications between CEA representatives and Leech Tishman representatives that pertain to

the receipt or provision of legal advice. For example, many of these documents relate to the

administration of Leech Tishman’s representation of CEA, including discussion of attorneys’ fees

and invoices, the terms of engagement between Leech Tishman and CEA, and conflict-of-interest

issues. Others simply reflect internal Leech Tishman communications that do not provide or

request legal advice, or do not reference or incorporate client communications. These pages are

therefore non-privileged and are discoverable.

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       2.     CRIME–FRAUD EXCEPTION APPLIES: Upon review, the Special Master finds

that the attorney–client privilege protects the documents identified in this section in the first

instance, but that the crime–fraud exception applies to remove the privilege protection. These

documents generally fall into two broad categories on which CEA sought Leech Tishman’s

representation and legal advice and Warren, acting on CEA’s behalf, engaged in criminal or

fraudulent activity: (A) CEA Tax Structure and Insurance; and (B) CEA General Legal Services.

Leech Tishman must produce these documents as more specifically described below.

              A.      CEA TAX STRUCTURE AND INSURANCE: 004208; 004209–004215;

004219–004220; 004224–04225; 004226–004228; 004229–004231; 004234–004239; 004240–

004241; 004242– 004244; 004247 –004251; 004252–004253; 004256–004257; 004260; 004261;

004367–004371; 004372–004375; 004376–004377; 004378–004382; 004383–004384; 004387–

004390; 004393; 004400; 004401–004403; 004404–004409; 004410–004416; 004633; 005471–

005527; 005641; 005677; 005906; 006180–006182; 008245–008247; 008248–008250; 008251–

008252; 008253–008254; 008255–008258; 008300–008302; 008303–008304; 008305–008309;

008389–008391; 008392–008393; 008394–008397; 008524–008525; 008526–008527; and

008528–008531.

       These pages contain privileged attorney–client communications and legal advice regarding

CEA’s or the Funds’ tax or other structure and purportedly relevant insurance policies. However,

these pages contain legal consultation and advice that Warren and other CEA representatives

sought from Leech Tishman in furtherance of a crime or fraud. Specifically, CEA engaged Leech

Tishman to provide legal counsel regarding “Tax Structuring,” (ECF 12-1, ¶ 1), and many of these

documents discuss alleged tax-related issues connected to the Funds. Other documents in this

category discuss purported insurance protection for the Funds, an item on which Warren admitted


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that he made false statements to investors. These documents reflect communications and

instructions from Warren and other CEA representatives to Leech Tishman, or legal work based

on those communications and instructions, made in furtherance of a crimes and fraudulent

misrepresentations. The crime–fraud exception applies to remove the privilege protection, and

Leech Tishman must produce them.

              B.     GENERAL LEGAL SERVICES: 004216; 004218; 004233; 004254–

004255; 004258; 004259; 004265–004300; 004301; 004303–004320; 004385–004386; 004391;

004392; 004394–004395; 004396–004397; 004398–004399; 004417; 004418; 004419; 004420;

004421; 004422–004423; 004424; 004425; 004426–004427; 004428–004613; 004614; 004615–

004616; 004617–004618; 004621–004622; 004623; 004624–004625; 004626; 004627–004628;

004629; 004630; 004631; 004632; 004634–004638; 004791; 004792–004293; 004794–004821;

005009–005061; 005062–005065; 005066–005151; 005152–005161; 005162–005205; 005206–

005208; 005209–005214; 005215–005244; 005245–005272; 005273–005276; 005277; 005278–

005367; 005368–005397; 005398–005441; 005442–005451; 005452–005460; 005461–005470;

005528–005600; 005612–005640; 005642–005669; 005685–005723; 005724–005725; 005726;

005727–005798; 005799–005826; 005827–005874; 005875–005891; 005907–005965; 005966–

005972; 005973–005975; 005976–005977; 005986–005990; 005991–006030; 006031–006033;

006035–006038; 006127–006168; 006169–006173; 006183–006184; 006185–006200; 006201;

006202; 006205; 006206; 006208–006212; 006213–006215; 006216–006222; 006243; 006245–

006246; 006248–006264; 006265–006267; 006268–008171; 008172–008175; 008177; 008178–

008180; 008202–008242; 008243; 008244; 008260–008263; 008264–008266; 008267–008275;

008276–008281; 008282–008283; 008284–008286; 008287–008288; 008289–008292; 008293–

008295; 008296–008299; 008310–008311; 008312–008313; 008314–008315; 008316–008317;


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008318–008325; 008326–008327; 008328–008330; 008331–008333; 008334–008335; 008336;

008337–008339; 008340–008341; 008342–008346; 008347–008348; 008349–008351; 008352–

008353; 008354–008383; 008384–008386; 008387–008388; 008398–008403; 008404–008431;

008432–008435; 008436–008489; 008502–008508; 008509–008511; 008512–008513; 008514–

008520; 008521–008522; 008523; 008538; 008539–008540; 008542–008551; 008552–008609;

008610–008620; 008621–008631; 008632–008641; 008651–008657; 008658; 008659–008660;

008661–008663; 008664–008666; 008667–008669; 008670–008671; 008672–008673; 008674–

008675; 008676–008681; 008692–008693; 008694; 008695–008696; 008697–008699; 008700–

008703; 008704–008706; 008707–008708; 008709–008780; 008781; 008782; 009148–009155;

009156–009157; 009158; 009374–009402; 009548; 009549–009553; 009554–009555; 009556–

009578; 009639–009640; 009641–009643; 009644–009645; 009646–009682; 009683–009688;

009714–009727; 009741–009744; 009745–009751; 009757–009759; 009760–009790; and

009838.

       These documents contain attorney–client communications or internal Leech Tishman

communications that incorporate client communications referencing legal consultation or advice.

Warren and other CEA representatives sought this legal advice from Leech Tishman in furtherance

of a crime or fraud. Specifically, CEA engaged Leech Tishman to provide legal counsel regarding

general legal services, including “Commercial Agreements,” “Power Purchase Agreements,”

“Corporate Structuring,” “Corporate Governance,” “International Legal and Strategic Advice,”

Financing Transactions’” and “Negotiation/Drafting of Development Agreements,” among other

things. (ECF 12-1, ¶ 1). Warren, acting on behalf of CEA, engaged in criminal and fraudulent

activity in all aspects of these areas in which CEA sought legal advice and legal work from Leech

Tishman, including misrepresentations about the payment of dividends, the fact that the Funds


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operated as a Ponzi scheme, that CEA held contracts with power companies, and general

structuring of the Funds. CEA thus communicated with Leech Tishma n on these matters, and

Leech Tishman performed legal services based on these communications, that furthered Warren’s

crimes and fraudulent conduct. The crime–fraud exception applies to remove the privilege

protection, and Leech Tishman must produce them.

               i.      004321–004366: The document in this numbered range requires specific

explanation. The email string within this document is privileged and not subject to the crime –fraud

exception. The email string does not pertain specifically to Leech Tishman’s representation of

CEA but instead to representation of a different client. Leech Tishman may withhold documents

004321–004323 as privileged. The attachments to the email, however, pertain to the general legal

services that Leech Tishman provided CEA, and the crime–fraud exception applies to them

because they are based on communications made in furtherance of crimes and frauds. Leech

Tishman must produce documents 004324–004366.


       3.      PRIVILEGED WITHOUT EXCEPTION: The attorney–client privilege protects

these documents because they contain confidential communications, or reference confidential

communications, between Leech Tishman and CEA representatives. Upon review, however, the

Special Master finds that the crime–fraud exception does not remove the privilege and require their

disclosure. While some, but not all, of these documents may in some way relate to Warren’s

criminal or fraudulent activity, there is no indication that these documents were created with the

intent to further or promote a crime or fraud. Leech Tishman may withhold these documents from

discovery based on the attorney–client privilege.

       004653–004790. The documents in this numbered range contain an email from what

       appears to be defendant Mankey’s personal email address to his Leech Tishman email

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     address attaching a document related to a different fund agreement. Although the Privilege

     Log identifies the subject of these documents as “CEA Sample,” the documents do not

     contain communications to or from CEA representatives and there is nothing in the record

     indicating that these documents relate to or furthered any Warren or CEA crimes or frauds.

     005670–005676. The documents in this numbered range contain communications

     involving or relating to CEA, but generally reflect communications and documents that

     pertain to Leech Tishman obtaining a conflict waiver between CEA and another firm client.

     While these documents relate to Leech Tishman’s general representation of CEA and

     another client, there is no indication that these documents were created with an intent to

     further a crime or fraud.

     005892–005905. The documents in this numbered range contain internal Leech Tishman

     communications, communications between Leech Tishman and CEA, and communications

     between Leech Tishman and another firm client pertaining to (1) a Non -Disclosure

     Agreement between CEA and the other firm client and (2) a conflict waiver agreem ent

     permitting Leech Tishman to represent CEA and the other firm client with respect to the

     Non-Disclosure Agreement.         While these documents relate to Leech Tishman’s

     representation of CEA, there is no indication that the preparation of the NDA or the conflict

     waiver furthered any crime or fraud.

     006039–006126. The documents in this numbered range contain internal Leech Tishman

     emails, some dating to September 2013, and drafts of a limited liability company agreement

     and a private placement memorandum pertaining to what appears to be a Leech Tishman

     client. While the Privilege Log identifies the documents in this range as “Email re CEA,”

     there is nothing in this document range indicating that the emails or attachments pertain to

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       CEA. While perhaps Leech Tishman attorneys used these drafts to create CEA-related

       documents, there is no evidence supporting that concept and no evidence indicating that

       the internal communications were made in furtherance of any crime or fraud.

       006176–006179. The documents in this numbered range contain internal Leech Tishman

       emails attaching a 2013 internal memorandum regarding securities regulations as those

       regulations pertain to a firm client identified on the Privilege Log—Xplorer Energy. While

       perhaps Leech Tishman utilized the substance of this memorandum during its

       representation of CEA, there is nothing in these documents indicating that the internal

       communications were made in furtherance of any crime or fraud.

       009160–009371. The documents in this numbered range include a single internal Leech

       Tishman email attaching draft documents related to another firm client, including a limited

       liability company agreement, private placement memorandum, limited partnership

       agreement, management services agreement, and subscription agreement. While the

       subject of the email indicates that the documents are “for use with CEA,” nothing in the

       documents pertains to CEA or indicates that the documents or the cover communication

       were created in furtherance of any crime or fraud.

       009405–009408. The documents in this numbered range include the 2013 internal Leech

       Tishman email attaching the same internal memorandum contained in 006176–006179 and

       fall into this category for the same reasons.

       4.     RELEVANCE OBJECTIONS: 009421–009531. The Privilege Log identifies

“Relevance,” “Relevance, Proprietary Information,” or “Relevance, HIPAA” as grounds for non-

production of these pages. The Special Master makes no finding as to whether Leech Tishman

should produce these pages.

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                                            s/ E. Todd Presnell
                                            E. Todd Presnell
                                            Special Master

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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was filed using the Court’s ECF System, and will be
served upon the following counsel of record by ECF notice on March 2, 2021:

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                                                    s/ E. Todd Presnell
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                                                    Special Master


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